JS44 (Rev.03/24)
                          Case 3:24-cv-02033-JRCIVIL
                       '3;24-c,v-2083-Hz-         Document
                                                     COVER 1-1SHEET
                                                                Filed 12/06/24     Page 1 of 2
                                                                            FILED6 DEC'2414:49IBDC~P
The JS 44 civil cover sheet and the infonnation contained herein neither replace nor supplement the fil ing and service of pleadings or other papers as required by law, except as
provided by local rules of court This fonn, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initialing the civil docket sheet. (SEE INSTRUCTIONS ON NEXT' PAGF: OF THIS FORM)
I. (a) PLAINTIFFS                                                                                                                      DEFENDANTS
              Cameron James Wilson                                                                                                       City of Hood River, Amelike Delancy, Austin Griffin, Ryan

     (b) County ofResidence of First Listed PlaintifT                     _Y_a_k_im_a________                                          County of Residence of First Listed Defendant                                       _H
                                                                                                                                                                                                                            . ;,.c.o, ;;,o,;;;d,.R
                                                                                                                                                                                                                                                 ;,,.;,ic:.v,;;;e'-r_______
                                   (EXCEPT IN US PI..AIN7'll-1° CASES)                                                                                             (IN US PI..AJN11FF CASES ONLY)
                                                                                                                                       NOTE:           IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                                       THE TRACT OF LAND INVOLVED.

     (C) Attorneys (Firm Name, Address, and Telephone Number)                                                                           Attorneys (If Known)
              Pro Se


ll. BASIS OF JURJSDICTION (Place an "X" in One Box Only)                                                           HI. CITIZENSHIP OF PRJNCIPAL PARTIES (Place an "X" inOneBoxforPlamufJ
                                                                                                                               (For Diversify Cases Only)                                                           and One Box for Defendanr)
01       U.S. Government               GJ3      Federal Question                                                                                        PTF                            DEF                                             PTF     DEF
            Plaintiff                             (US Government Not a Pany)                                             Citizen ofThis State             I            O             O             Incorporated or Principal Place         4   0 4    O
                                                                                                                                                                                                     of Business In This State

0    2   U.S. Government               04       Diversity                                                                Citizen of Another State                      0     2       □ 2           Incorporated and Principal Place                   □ 5          Os
            Defendant                             (lndicare Cirizensh1p ofPames m /rem Ill)                                                                                                          of Business In Another State

                                                                                                                         Citizen or Subject of a                       0     3       □ 3           Foreign Nation                                     06           06
                                                                                                                           Foreign Country
IV. NATURE OF S UIT (Place an "X" in One Box On/                                                                                                                            Click here for: Nature of Suit Code Descri tions.
              CONTRACT                                                   T O RTS                                             FO RFEITUR E/PENALTY




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     11 0 losurance                      PERSO A L I NJURY                         PERSONAL INJURY                            625 Drug Related Seizure                              422 Appeal 28 USC 158                                  375 False Claims Act
     120 Marine                          3 IO Airplane                       0     365 Personal Injury -                          of Property 21 use 881                            423 Withdrawal                                         376 Qui Tam (3 1 USC
     130 Miller Act                      3 15 Airplane Product                         Product Liability                      690 Other                                                 28 USC 157                                             3729(a))
     140 Negotiable Instrument                 Liability                     0     367 Heallh Care/                                                                                   INTELLECTUAL                                         400 State Reapportionment
     150 Recovery of Overpayment         320 Assault, Libel &                          Phannaceutical                                                                       l ---'P:.;R:..:O=P:::E::.;R:..:T..:Y;..;R=IG
                                                                                                                                                                                                                       ::.l:..:    S_4-..J 41OAntitrust
                                                                                                                                                                                                                            ·l..:.T,:;:
         & Enforcement of Judgment             Slander                                 Personal Injury                                                                           820 Copyrights                                            430 Banks and Banking

8    151 Medicare Act
     152 Recovery of Defauhed
          Student Loans
                                         330 Federal Employers'
                                               Liability
                                         340 Marine
                                                                             0
                                                                                       Product Liability
                                                                                   368 Asbestos Personal
                                                                                        Injury Product
                                                                                                                                                                                 830 Patent
                                                                                                                                                                                 835 Patent - Abbreviated
                                                                                                                                                                                           New Drug Application
                                                                                                                                                                                                                                           450 Commerce
                                                                                                                                                                                                                                           460 Deportation
                                                                                                                                                                                                                                           470 Racketeer Influenced and
          (Excludes Veterans)            345 Marine Product                             Liability                                                                                840 Trademark                                                 Corrupt Organizations
0    153 Recovery of Overpayment               Liability                         PERSONAL PROPERTY                                          LABOR                                880 Defend Trade Secrets                                  480 Consumer Credit
         of Veteran's Benerits           350 Motor Vehicle                   0     370 Other Fraud                            7 10 Fair Labor Standards                                   Act of 2016                                          (15 USC 168 1 or 1692)
0    160 Stockholders' Suits             355 Motor Vehicle                   0     371 Truth in Lending                            Act                                      1-- - - - - -- -- -t--' 485 Telephone Consumer
0    190 Other Contract                       Product Liability              0     380 Other Personal                         720 Labor/Management                                   SOCIAL SEC URITY                                   Protection Act


8    195 Contract Product Liability
     196 Franchise
                                         360 Other Personal
                                              lnjury
                                         362 Personal Injury -
                                                                             0
                                                                                       Property Dam age
                                                                                   385 Property Damage
                                                                                       Product Liability
                                                                                                                                   Relations
                                                                                                                              740 Railway Labor Act
                                                                                                                              751 Family and Medical
                                                                                                                                                                                    861 HIA ( 1395ft)
                                                                                                                                                                                    862 Black Lung (923)
                                                                                                                                                                                    863 DIWC/DIWW (405(g))
                                                                                                                                                                                                                                    490 Cable/Sat TV
                                                                                                                                                                                                                                    850 Securities/Commodities/
                                                                                                                                                                                                                                        Exchange
                                              Medical Malpractice                                                                  Leave Act                                        864 SSLD Title XVI                              890 Other Statutory Actions
         REAL PROPERTY                     C IVI L R I GHTS                      PRISO N ER PETITIONS                                                                               865 RSI (405(g))                                891 Agricuhural Acts
     210 Land Condemnation            • 440 Other Civil Rights                    Habeas Corpus:                              791 Employee Retirement                      1 - - - - - - - - -- --<~ 893 Environmental Matters
     220 Foreclosure                    441 Voting                                463 Alien Detainee                              Income Security Act                       L.,,,.LIJl~.o..l...&.O..O~.W.i2..-I~                    895 Freedom of lnfonnation
     230 Rent Lease & Ejectment         442 Employment                            5 10 Motions to Vacate                                                                            870 Taxes (U.S. Plaintiff                           Act
     240 Torts to Land                  443 Housing/                                   Sentence                                                                                         or Defendant)                               896 Arbitration
     245 Ton Product Liability              Accommodations                        530 General                                                                                       871 IRS-l11ird Party                            899 Administrative Procedure
0    290 All Other Real Property        445 Amer. w/Disabilities -                535 Death Penalty                                                                                      26 USC 7609                                    Act/Review or Appeal of
                                            Employment                            O ther:                                                                                                                                               Agency Decision
                                        446 Amer. w/Disabilities -                540 Mandam us & Other                                                                                                                             950 Constitutionality of
                                            Other                                 550 Civil Rights                                    Actions                                                                                           State Statutes
                                        448 Education                             555 Prison Condition
                                                                                  560 Civil Detainee -
                                                                                       Conditions of
                                                                                        Confinement
V. ORIGIN (Place an "X" in OneBoxOnly)
~I       Original          02   Removed from                   0     3      Remanded from                      D 4 Reinstated or D 5 Transferred from D 6 Multidistrict                                                                    D 8 Multidistrict
         Proceeding             State Court                                 Appellate Court                              Reopened                             Another District                               Litigation -                           Litigation -
                                                                                                                                                              (specify)                                      Transfer                               Direct File
                                          Cite the U.S. Civil Statute under which you arc fil ing (Do 1101 citej11ris dictional statutes unless diversity):
                                           42                198 3
Vl. CAUSE OF ACTION 1-- -u_.s_.c_•..;.
                                   § _ - - - - - - - - - - - --                                                                        - - - - - --                               ----------------
                                           Brief description of cause:
                                           U"lllwlll Nkln •nd IIIM anell, • ~ U M « br0lt IWIIMon fol H ercillf'G Arlt AIMndrMnil ~    . and Yiollnor. of due pn:,ce• and aq&al praactic,n Wlmr the FCKnffnlti Am.ndment


Vil. REQUESTED IN                         0      CHECK IF TH IS IS A CLASS ACTION                                             DEMAND $                                                       CHECK YES only if demanded in complaint:
     COMPLAINT:                                  UNDER RULE 23, F. R.Cv.P.                                                                                                                   JU RY DEMAN D:       G)Yes     O No

Vlll. RELATED CASE(S)
      IF ANY                                  (See msrnictions):                                  _ _ _ _ _ _ _ _ _ _ _ _ _ _ DOCKET NUMBER
                                                                              JUDGE
DATE                                                                               SIGNATURE OF ATf0RNEY OF RECORD
    12/4/24                                                                        Isl Cameron Wilson
FOR OFFICE USE ONLY

     RECEIPT #                     AMOUNT                                               APPL YING IFP                                                      JUDGE                                               MAG. JUDGE
JS 44 Reverse (Rev. 03/24)   Case 3:24-cv-02033-JR               Document 1-1                Filed 12/06/24             Page 2 of 2
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings a nd service of pleading or other papers as
required by law, except as provided by local ru les of court. This form, approved by the Judicial Conference of the United States in September I 974, is
required fo r the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The at1omey ftling a case shou ld complete the form as follows:

l.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the fu ll name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    Coun ty of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the fi rst listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the fi rm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., w hich requires that j urisd ictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precede nce is given in the order shown below.
         United States plaintiff. ( I) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and offi cers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the Un ited States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 133 1, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box I or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section Ill below; NOTE: federal question actions take precedence over diversity
         cases.)

Ill.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if di versity of citizenship was indicated above. Mark this
         section fo r each principal party.

IV.        ature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. ( I) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check th is box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation - Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation - Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORJGJN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statute.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are fi ling a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related cases, if any. lf there are related cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
